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      Newport Coast Recovery, LLC
   11 and Yellowstone Women’s
      First Step House, Inc.
   12
   13                      UNITED STATES DISTRICT COURT
   14                    CENTRAL DISTRICT OF CALIFORNIA
   15
      NEWPORT COAST RECOVERY                  )   Case No. SACV 09-701-JVS (RNBx)
   16 LLC, a California Limited               )
      Liability Company; and                  )
   17 YELLOWSTONE WOMEN’S                     )   PLAINTIFFS’ NOTICE OF
      FIRST STEP HOUSE, INC., a               )   ERRATA RE CORRECTED
   18 California nonprofit corporation,       )   TABLE OF AUTHORITIES RE
                                              )   PLAINTIFFS’ OPPOSITION TO
   19                                         )   DEFENDANT’S MOTION FOR
                   Plaintiffs,                )   PARTIAL SUMMARY JUDGMENT
   20                                         )   [DOC. 77]
             vs.                              )
   21                                         )
                                              )
   22 CITY OF NEWPORT BEACH,                  )   Hearing:
      a California municipal                  )   Date:         July 26, 2010
   23 corporation,                            )   Time:         1:30 p.m.
                                              )   Room:         Courtroom of the
   24              Defendant.                 )                 Hon. James V. Selna
                                              )
   25
   26        Attached is the corrected Table of Authorities for Doc. 77, Plaintiffs’
   27 //
   28 //
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    1 Opposition to Defendant City of Newport Beach’s Motion for Partial Summary
    2 Judgment.    Dated: July 6, 2010.
    3                                Respectfully submitted,
                                     BRANCART & BRANCART
    4
                                     /s/ Elizabeth Brancart
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    1                                     TABLE OF AUTHORITIES
    2   Abbott Laboratories v. Gardner, 387 U.S. 136 (1967). . . . . . . . . . . . . . . . . . . . . . 13
    3   Bronk v. Ineichen, 54 F.3d 425 (7th Cir. 1995). . . . . . . . . . . . . . . . . . . . . . . . . . . . 20
    4   Bryant Woods Inn, Inc. v. Howard County, 124 F.3d 597 (4th Cir. 1997). . . . 13, 21
    5   City of Edmonds v. Oxford House, 514 U.S. 725 (1995).. . . . . . . . . . . . . . . . . . . . 22
    6   Dadian v. Village of Wilmette, 269 F.3d 831 (7th Cir. 2001). . . . . . . . . . . . . . . . . 18
    7   DuBois v. Ass’n of Apt. Owners of 2987 Kalakaua
    8           453 F.3d 1175 (9th Cir. 2006). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14
    9   Giebeler v. M & B Associates, 343 F.3d 1143 (9th Cir. 2003). . . . . . . . . . . . . 17, 18
   10   Gladstone Realtors v. City of Bellwood, 441 U.S. 91 (1979). . . . . . . . . . . . . . . . . 14
   11   Groome Resources Ltd, LLC v. Parish of Jefferson
   12           234 F.3d 192 (5th Cir. 2000). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 13, 14, 20
   13   McGary v. City of Portland, 386 F.3d 1259 (9th Cir. 2004). . . . . . . . . . . . . . . . 6, 17
   14   Montana Chapter of Assoc. Of Civilian Technicians v. Young
   15           514 F.2d 1165 (9th Cir. 1975). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14
   16   Nevada Fair Housing Center , Inc. v. Clark County
   17           565 F. Supp. 2d 1178 (2008). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12
   18   Oconomowoc Res. Prog., Inc. v. City of Greenfield
   19           300 F.3d 557 (7th Cir. 2002). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 17
   20   Oconomowoc Res. Prog., Inc. v. City of Greenfield
   21           23 F. Supp. 2d 941 (E.D. Wis. 1998). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 15
   22   Oxford House, Inc. v. Town of Babylon
   23           819 F. Supp. 1179 (E.D.N.Y. 1993). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 24
   24   Oxford House v. Township of Cherry Hill
   25           799 F. Supp. 450 (D.N.J. 1992).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 24
   26   Oxford House, Inc. v. City of Virginia Beach
   27           825 F. Supp. 1251, 1258 (E.D. Va. 1993). . . . . . . . . . . . . . . . . . . . . . . . . . . 14
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    1   Stewart B. McKinney Foundation, Inc. v. Town Plan and Zoning Comm’n
    2            790 F. Supp. 2d 1197 (D. Conn. 1992). . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14
    3   Tsombanidis v. West Haven Fire Dep’t, 352 F.3d 565 (2d Cir. 2003). . . . . . . 13, 14
    4   Tsombanidis v. City of W. Haven, 180 F. Supp. 2d 262 (D. Conn. 2001). . . . . . . . 24
    5   U.S. Airways v. Barnett, 535 U.S. 391 (2002). . . . . . . . . . . . . . . . . . . . . . . . . . . . . 17
    6   United States. v. Village of Palatine, 37 F. 3d 1230 (7th Cir. 1994) . . . . . . . . . . . 14
    7   Village of Arlington Heights v. Metropolitan Housing Development Corp.
    8            429 U.S. 252 (1977). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12
    9   Walker v. City of Lakewood, 272 F.3d 1114 (9th Cir. 2001). . . . . . . . . . . . . . . . . . . 6
   10   Statutes
   11   42 U.S.C. 290dd-2. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25
   12   42 U.S.C. § 12132. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4
   13   Fair Housing Act
   14            42 U.S.C. §3602(i).. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5
   15            42 U.S.C. § 3604(f)
   16            42 U.S.C. §3613(a)(1)(A). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 5
   17            42 U.S.C. § 3617. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4
   18   28 C.F.R. § 35.130(b)(7). . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 17
   19   California Fair Employment and Housing Act
   20            Cal. Government Code § 12927(c)(1) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 17
   21            Cal. Government Code § 12955. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 17
   22   NBMC Chapter 20.62. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . passim
   23   NBMC Chapter 20.91A. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . passim
   24   NBMC Chapter 20.9827. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . passim
   25   Other Authorities
   26   Letter from California Attorney General dated May 15, 2001. . . . . . . . . . . . . . . . 24
   27   Joint Statement of HUD and DOJ re Reasonable
   28   Accommodations under the Fair Housing Act dated May 17, 2004 . . . . . . . . . . . . 24

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    1                           CERTIFICATE OF SERVICE
    2        On July 9, 2010, I served a true and correct copy of the following documents
    3 entitled:
    4        PLAINTIFFS’ NOTICE OF ERRATA RE CORRECTED TABLE OF
    5 AUTHORITIES RE PLAINTIFFS’ OPPOSITION TO DEFENDANT’S
    6 MOTION FOR PARTIAL SUMMARY JUDGMENT [DOC. 77]
    7   Mr. Peter Pierce                         Steven G. Polin
    8   Richards, Watson & Gershon               Law Offices of Steven G. Polin
        355 South Grand Avenue, 40th Floor       3034 Tennyson Street, NW
    9   Los Angeles, CA 90071                    Washington, D.C. 20015
        Fax: (213) 626-0078
   10   Ms. Leonie Mulvihill
        Mr. Kyle E. Rowen
   11   City of Newport Beach
        3300 Newport Boulevard
   12   Newport Beach, CA 92663
        Fax: (949) 644-3139
   13
   14 By transmitting the above document(s) to the email address of the person
   15 designated above, or by electronically filing the documents on the Court’s ECF
   16 system.
   17       Executed on July 9, 2010, Loma Mar, California.
   18
   19                                 /s/ELizabeth Brancart
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